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I, Weijie Weng, hereby certify pursuant to Federal Rule of Civil Procedure 65(b)(1)(B) as follows:



Plaintiff has not attempted to notify any of the Defendants of Plaintiff's application for a temporary

restraining order to enjoin them from further infringing activity and attaching Defendants' assets, because

if Defendants receive advance notice, Defendants will have the opportunity to make some of the relief

sought by Plaintiff moot, by moving or hiding the infringing goods, and related materials within the time

needed for a hearing, and by moving their assets to another account beyond the reach of this Court.



I declare under penalty of perjury that the preceding is true and correct.



Executed on this 18th Day of August 2022:




                                                                         ____________________________

                                                                                    Weijie Weng
